Case 2:11-cv-12841-AC-CEB ECF No. 1, PagelD.1 Filed 06/30/11 Page 1 of 14

ETO Sys eA
UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN
SOUTHERN DIVISION

JAMES POWELL, #537041

Patitioner,
Case:2:11-cv-12841
WS Judge: Cohn, Avern
MJ: Binder, Charles E.
KEN MCKEE, WARDEN Filed: 06-30-2011 At 04:13 PM
Respondent. / HC: JAMES POWELL V. KEN MCKEE (KB)

PETITION FOR WRIT OF HABEAS CORPUS

Now comes Patitioner, Jamas Powell, in propria persona, pursuant to 28
USC § 2254, seeking a writ of habeas corpus.

1. Patitioner James Powell is currently unconstitutionally confined by
Respondent, Warden Ken McKee, at the Bellamy Creek Correctional Facility,
where Petitioner is serving sentences of 25-40 years for second degree murder,
2-5 years for assault with a dangerous weapon, 2-5 years for felon in
possession of a weapon, and a flat 2 years to be served consecutively for
felony firearm convictions.

2. Petitioner sought leave to appeal and was appointed appellate counsel.
A substitute attorney was appointed on April 2, 2009. On 10/7/09, the Court
of Appeals denied relief in a form opinion without explanation.

3. Petitioner sought leave to appeal in the Michigan Supreme Court, and
was denied relief on 7/26/10.

4&. Petitioner raises the same issues in his brief in support of his
petition for writ of habeas corpus as that raised in the state courts as
follows:

I.
MR. POWELL WAS DEPRIVED OF DUE PROCESS OF LAW WHERE THE
COURT SENTENCED HIM BASED ON ALLEGED ACTS NOT SUPPORTED
BY THE RECORD, NOR FOUND BY A JURY, NOR ADMITTED TO BY
PETITIONER, NOR INDIVIDUALIZED

5. Petitioner is entitled to an evidentiary hearing to make a record for

(

1Y
Case 2:11-cv-12841-AC-CEB ECF No. 1, PagelD.2 Filed 06/30/11 Page 2 of 14

review.

Wherefore, based on the reasons sat forth in the attached brief,

petitioner asks the court to grant a writ of habeas corpus or hold the
Patition in abeyance so that Petitioner may toll the 1-yr deadline aon Argumant

I and return to state court to exhaust Arguments II ~- IV.

Respectfully Submitted,
DATE: (o- BU [\> Woe

James Powell # 537041
Bellamy Creek Corr Facility
1727 W. Bluewater Hwy
Ionia, MI 48846

Case 2:11-cv-12841-AC-CEB ECF No. 1, PagelD.3 Filed 06/30/11 Page 3 of 14

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN
SOUTHERN DIVISION

JAMES POWELL 537041 . Sit SV
Gase No. 6G- OFT! ~ ON re

Patitioner,
~ . . Ve oe .
Vs Hon. hm ath Y WA. \C ZV) yn 4

KEN MCKEE, WARDEN
Respondent /

BRIEF IN SUPPORT OF PETITION FOR WRIT OF HABEAS CORPUS

James Powell 537041
In Propria Persona

H@llamy Creek Corr Facility
1727 W. Bluewater Hwy
Tonia, MI 48846
Case 2:11-cv-12841-AC-CEB ECF No. 1, PagelD.4 Filed 06/30/11

TABLE OF CONTENTS

Statement of Facts

Argument Tow. ccc we eee ee eee Cee mec emer meee cee ee eee eee eee nee
MR. POWELL WAS DEPRIVED OF DUE PROCESS OF

LAW WHERE THE COURT SENTENCED HIM BASED ON
INACCURATE INFGRMATION SUCH AS ALLEGED ACTS

NOT SUPPORTED BY COMPETENT EVIDENCE, NOT
FOUND BY ANY JURY, NOR ADMITTED TC 38Y MR.
POWELL
Standard .......... . wee eeu eeee eee ewes eee cece te weee
Discussion .......eeee- cee eee eee eee eer ween were eae
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Page 4 of 14

PAGE
Case 2:11-cv-12841-AC-CEB ECF No. 1, PagelD.5 Filed 06/30/11 Page 5 of 14

STATEMENT OF FACTS

On 7/21/07, Haider Al Ganzawi was shot by Petitioner James Powell once in
the hip after an argument. Petitioner was later arrested and charged with
first degree murder, felony murder, AWIM (2 cts), felon in possession of
firearm, and felony firearm.

Gn 7/30/08, Mr. Powell agreed to accept a plea bargain. The Prosecutor
agreed to dismiss both first degree murder charges in exchange for Mr.
Powell's plea of guilty to 2nd degree murder, 2 counts of Assault with a
dangerous weapon, felon in possession of a firearm, and felony firearm.

A sentence agreemant was stipulated to in exchange for the plea. Mr.
Powell would serve 25-40 years for 2nd degree murder and an additional 2 years
for the felony firearm charge.

Petitioner was never consulted by counsel or the prosecutor concerning
sentencing guidelines during the plea process. Petitioner later discovered
that several of the aggravating factors used by the prosecutor to justify a
25-40 yr sentence were completely contradicted by the evidence. Petitioner's
sentence would be substantially less than a 25-yr minimum if the court had not
relied on inaccurate information. Petitioner asserts that Offense Variables
(OV) 1, 3, and 6 are mis-scored due to materially inaccurate information.

Petitioner further asserts that becausa the 25-40 yr sentence would have
bean substantially less had tha aggravating factors not been scored based on
misinformation, that he did not and could not have voluntarily or
intelligently waived his right to trial by entering a plea in exchange for
such a sentence.

Petitioner seaks 9 writ af habeas corpus.
Case 2:11-cv-12841-AC-CEB ECF No. 1, PagelD.6 Filed 06/30/11 Page 6 of 14

ARGUMENT I.

MR. POWELL WAS DEPRIVED OF DUE PROCESS OF LAW WHERE THE

COURT SENTENCED HIM BASED ON INACCURATE INFORMATION

SUCH AS ALLEGED ACTS NOT SUPPORTED GY COMPETENT

EVIDENCE, NOT FOUND BY ANY JURY, NOR ADMITTED TO BY MR.

POWELL
STANDARD

A federal court may grant writ of habeas corpus only if the state

court(s) ruled in a way contrary to, or involving an unreasonable application

of, clearly established federal law as determined by the U.S. Supreme Court.

28 USC § 2254; WILLIAMS V TAYLOR, 529 U.S. 362, 404-95 (2000).

A state court decision is an unreasonable application of clearly
established federal law if it "correctly identifies the governing legal rules
but applies it unreasonably to the facts of a particular prisoner's casa."
WILLIAMS, 529 U.S. at 407-08.

A federal habeas petitioner must demonstrate that the Constitutional

error was not harmless under the test set forth in BRECHT V ABRAHAMSON, 507

U.S. 619 (1995). The error must have had a "substantial and injurious effect
or influence" on the verdict. The BRECHT test requires that the writ be
granted when the federal court is in a state of "virtual equipoise”’ as to
whether the Constitutional error adversely affected the verdict.

Neither the Michigan Court of Appeals nor the Supreme Court articulated
any reasoning for denying relief in its form opinion. Where a state court
decides a Constitutional issue by form order or without extended discussion, a
habeas court should then focus on the result of the state court's decision,

applying the standard articulated above. HARRIS V STOVALL, 212 F3d 540,943

(6th Cir 2000). The Federal district court is obligated, in situations where
the state court has not articulated its reasoning, to conduct an independent

review of the record and applicable law to determine whether the state court
Case 2:11-cv-12841-AC-CEB ECF No. 1, PagelD.7 Filed 06/30/11 Page 7 of 14

decision is contrary to federal law, or is based on an unreasonable
determination of the facts in light of the evidence presented. Ibid.
DISCUSSION

Petitioner was charged with felony murder, first degree murder, tuo

counts of assault with a dangerous, felan in possession of a firearm, and
felony firearm. Petitioner pled guilty to second degree murder, AWDW, FIP,
and FF in exchange for dismissal of first degree and felony murder charges.
Tha Plea Transcript, 7/30/08, pp 8-9 reflects:

THE COURT: Back on July 21st of last 2007 were you
in frant of 6898 Rutland in the city of Detroit?

MR. POWELL: Yes.

THE COURT: Did you in fact come in contact with an
individual that you know or later knew as an individual
by the name of Heyder Algonzowie [sic]?

MR. POWELL: Yes

THE COURT: And, did you in fact, shoot Mr.
Algonzouie (sp)?

MR. POWELL: Yes, sir.

THE COURT: And as a result of your shooting him you
learned that Mr. Algonzowie (sp) died; is that correct?

MR. POWELL: Yes, sir.

THE COURT: How many times was he shot?

MR. POWELL: Once.

THE COURT: And you certainly didn't have any legal
basis to shoot him or kill him did you?

MR. POWELL: No, sir.

THE COURT: Am I correct that there were two other
individuals Ali Kager Algonzowie (sp) and a Yash Kager
Algonzowie (sp) two other individuals that were there
at that same location on that same date; is that true?

MR. POWELL: Yeas, sir.

THE COURT: And did you point the gun that you shot
Mr. Heyder Algonzowie (sp), did you point that gun at
those individuals --

MR. HAMPTON: Your Honor, can I have one second?

THE COURT: Yeah, sure.

MR. HAMPTON: Your Honor, just for clarification even
at the preliminary exam it was not established that the
gun was actually pointed at these individuals, but the
gun was used to put them in apprehansion which I think
still qualifies as a falonious assault.
Case 2:11-cv-12841-AC-CEB ECF No. 1, PagelD.8 Filed 06/30/11 Page 8 of 14

THE COURT: Ali right.

MS. WALKER: I believe that's true.

THE COURT: All right. They certainly were present
and nearby, and certainly had reason to believe that
they might also be shot by you; is that correct?

MR. POWELL: Yes, sir.

THE COURT: And you certainly didn't have any legal
right or justification in putting those other two men
in fear of their lives either; true?

MR. POWELL: Yes.

Michigan adopted statutory guidelines in 1999, which hava the force of

law. MCL 769.34(1)(2); PEOPLE V LEVERSEE, 243 Mich App 337,348 (2000).

Patitioner asserts that the trial court sentenced him on the basis of
materially inaccurate information which led to unjustified scores in at least
three Offense Variable (OV) categories, totalling 85 points.

The Michigan Sentencing Guidelines and the Michigan sentencing scheme
requires the Court to find additional facts which allow the increase of the
sentence. Thase factual findings are neither admitted to by the Patitioner,
nor found by a Jury. These factual findings result in scores which place
Petitioner in Grids A-F for Prior Record Variable (PRV) scores, and from Grids
I~ III for various Offense Variables (OV) based on conduct or lack thereof
during the commision of the offense. These variables are aggravating
circumstances which are not necessary to commit the crime itself, but which
are facts above and beyond the commission of the crime to justify increasing
the sentence by the increased score.

Petitioner contends that the facts found by the court used to increase
his score from Grid I to Grid III. The Michigan Courts have ruled that

BLAKELY V WASHINGTON does not apply to Michigan indeterminate sentencing

scheme.
1. GV 1 -- Aggravated Use of a Weapon
The "victim" is deceased. Petitioner Pled guilty to 2nd Degree Murder

and Felony Firearm. As it applies to Felony Firearm, the statute allows 25
Case 2:11-cv-12841-AC-CEB ECF No. 1, PagelD.9 Filed 06/30/11 Page 9 of 14
points to be assessed when "[{a] firearm was discharged at or toward a human
being or a victim was cut or stabbed ...." MCL 777.3(1)(a). Patitioner
feised the issue in the trial court raminding the court that no shots were
discharged at or toward anyone. This is verified by the Preliminary Exam
Transcript. See also, Sant. Trans., 8/20/08, pp 3-4. Sath counts of AWIM
were dismissed. In fact, the witnesses/relatives of the deceasad stated that
Petitioner shot in the air and "not near" them. Ibid.

2. OV 3 -- Degree of Physical Injury

By its own terms, this offense variable is not to be scored where the
death is the result of homicide. MCL 777.33(2)(b). The death of a person is
an element of 2nd degree murder, and is not to be scored. MCL 777.1(c). The
score must result in zero. Petitioner asserts that he was scored 25 points
totally contrary to the evidence.

3. OV 6 -- Intent to Kill or Injure Another
Petitioner asserts that he was unlawfully assessed 25 points for

possessing the unpremeditated intent to kill, the intent to do great bodily
harm, or created a vary high risk of death or harm while knowing that death or
harm was the probable result. See MCL 77.36(1)(b). This offense variable by
its own terms applies to homicide and AWIM offenses, but does not apply to any
offense to which Petitioner pled guilty. The AIIM charges were dismissad.
Petitioner never admitted to any intent or attempt to kill or injure anyone
other than the deceased. The record does not support a score of 25 points or
finding that Petitioner intended to kill or created a high risk of death
(knowing that death or great bodily harm was the likely result) to anyone
OTHER THAN the deceased.
ARGUMENT

A. The Sentence is Based on Inaccurate Information
Case 2:11-cv-12841-AC-CEB ECF No.1, PagelD.10 Filed 06/30/11 Page 10 of 14
Petitioner was scored 45 points based on materially inaccurate
information. But for this score, Petitioner would have receivad a
substantially lesser sentence. While it is true that habeas relief cannot ba
granted simply "on the basis of a perceived error of state law," PULLEY V
HARRIS, 465 U.S. 37,41 (1984), when the error rises to the level of depriving
the defendant of fundamental fairness in the trial process, the claim is

remediable on a petition for habeas corpus relief. MATLOCK V ROSE, 751 Fad

1236,1242 (6th Cir 1984); ESTELLE V MCGUIRE, 502 U.S. 62,67-68 (1991); CLEMONS

V MISSIPPI, 494 U.S. 738,746 (1990)(in certain circumstances state procedural
laws may create liberty interests that cannot ba denied without violating due
process).

It is well settled that Patitioner has the right to be sentenced on thea

basis of complete and accurate information. UNITED STATES v TUCKER, 404 U.S.

443, 447-49 (1972); TOWNSEND V BURKE, 334 U.S. 736 (1948).

The misscoring of offense variables 1, 3, and 6 result in a substantially
different sentence guideline to which Petitioner was subjected to. A single
deduction of 25 points places Petitioner in OV Grid II instead of III, which,
when intersected at PRV Grid D, results in 3 minimum sentence of 18.75 years
(225 mos) and a range of 225 to 468 months. a daduction of all three scores
(75 points) would place Petitioner in OV Grid I instead of III, and would
result in a minimum sentence of 15 years (180 mas) or a range of 180 months to
300 months (25 yrs). A difference of two grids (III dawn to I) or in other
words, a difference af a minimum of 270 mos compared to a minimum of 180

months, is a significant error reaching Constitutional dimension, which cannot

be considered harmlass. TUCKER, Supra; TOWNSEND, Supra; UNITED STATES V
ANDREWS, 240 F Sumo 2d 636,638 (ED Mich, 2003).

B. Facts Found By Court Not Admitted
Case 2:11-cv-12841-AC-CEB ECF No. 1, PagelD.11 Filed 06/30/11 Page 11 of 14

In BLAKELY V WASHINGTON, 542 U.S. 296 (2004), the United States Supreme

Court reiterated its earlier holding that with the exception of a prior
conviction, any fact that increases the penalty for a crime beyond the
prescribed statutory maximum must be submitted to a jury, and proved beyond a

reasonable doubt." APPRENDI V NEW JERSEY, 530 U.S. 466,490 (2000). Michigan

has held that BLAKELY does not apply to its "Intermediate Sentences." See

PEOPLE V HARPER, 479 Mich 599 (2007); PEOPLE V MCCULLER, 479 Mich 672 (2007).

These cases overruled PEOPLE V UPHAUS, 275 Mich App 158 (2007), which reached

the opposite conclusion.

In CUNNINGHAM V CALIFORNIA, 549 U.S. 270 (2007), the United States

Supreme Court reaffirmed the holding in APPRENDI, and held that California's
Determinate Sentencing Lau, which authorized a judge rather than a jury to
find facts exposing defendant to elevated upper term sentence violated that
Defendant's right to trial by jury. CUNNINGHAM explained both BLAKELY and
APPRENDI.

{T]h2 relevant statutory "maximum," [this court has

clarified], is not the maximum a sentence a judge may

impose after finding additional facts, but the maximum

na may impose WITHOUT any additional findings.

BLAKELY, 542 U.S. at 303-304, 124 Sct 2531 (emphasis in

original).

In every case, the Supreme Court discusses "sentence ranges" not the
absolute maximum sentenca possible. In Cunningham's case, the jury verdict
alone limited the permissible sentence to 12 years. Additional factfinding by
the trial judge resulted in an “upper term" sentence of 16 years. Id at 549
U.S. at 275. That four-yaar elevation was hald to violate the 6th Amendment.

In BLAKELY, the maximum penalty for his offense, under the Washington Reform

Act, was ten years, if no facts beyond those reflected in the jury's verdict

were added. Blakely could not receive a sentence greater than ten years
UNLESS the judge found ‘deliberate cruelty.* It did not even matter that
Case 2:11-cv-12841-AC-CEB ECF No. 1, PagelD.12 Filed 06/30/11 Page 12 of 14
Blakely's sentence, though outside the "standard range”, was within the tan
year maximum. The Court held that the top of the sentencing range (53 mos)
was the "relevant statutory maximum, "

In Mr. Powell's case, before any admission was given, the court was
limited to a santence range of 180 months - 300 months. This includes the
consideration for prior convictions (PRV). It is not until The Sentencing
Guidelines call for the judge to make "additional" factual findings, that
Petitioner Powell's sentence increases from Grid I toa Grid III. HLAKELY
clearly covers Petitioner's case no matter what label Michigan puts on its
sentencing scheme. As such, Michigan's denial of relief was an unreasonable
application of clearly established federal law as determined by the U.S
Supreme Court, and he is antitled to relief.

C. Individualizatian

Petitioner's sentence must ba individualized. WILLIAMS V NEW YORK, 337

U.S. 241,245 (1949). This means that the sentence must be tailored to the
individual and particular circumstances of the case and the offender. PEOPLE
V HUMBLE, 146 Mich App 198,201 (1985). Pationer is entitled to a sentenca
which reflects an accurate nicture of himself and of what occurred in the
incident. The court never requested and Patitioner's counsel never put the
information before the court.

RELIEF REQUESTED

Patitoner asserts that for the foregoing reasons, he is entitled to
either be resentenced or to nave his olea withdrawn.

Respectful Submitted,

(sr Y=

(J3mes Powell 537041

Bellamy Creek Corr. Facility
1727 W. Bluewater Hwy

Tania, MI 48846

CEB ECF No. 1, PagelD.13 Filed 06/30/11 Page 13 of 14

Case 2:11-cv-12841-AC-

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Case 2:11-cv-12841-AC-CEB ECF No. 1, PagelD.14 Filed 06/30/11 Page 14 of 14

CIVIL COVER SHEET FOR PRISONER CASES

Case No. _11-12841 Judge: _Avern Cohn Magistrate Judge: _Charles E. Binder
Name of 1* Listed Plaintiff/Petitioner: Name of 1* Listed Defendant/Respondent:
JAMES POWELL KEN MCKEE

Inmate Number: 537041 Additional Information:

Plaintiff/Petitioner’s Attorney and Address Information:

Correctional Facility:
Bellamy Creek Correctional Facility
1727 West Bluewater Highway

lonia, MI 48846
IONIA COUNTY
BASIS OF JURISDICTION ORIGIN
CL 2 U.S. Government Defendant x 1 Original Proceeding
K 3 Federal Question C. 5 Transferred from Another District Court
C) Other:
NATURE OF SUIT
& 530 Habeas Corpus
IT” 540 Mandamus FEE STATUS
I 550 Civil Rights [ IFP In Forma Pauperis
CE 555 Prison Conditions kK PD Paid

PURSUANT TO LOCAL RULE 83.11

1. Is this a case that has been previously dismissed?

[™ Yes xX No
> If yes, give the following information:
Court:
Case No:
Judge:

2. Other than stated above, are there any pending or previously discontinued or dismissed companion cases in this or any
other court, including state court? (Companion cases are matters in which it appears substantially similar evidence will
be offered or the same or related parties are present and the cases arise out of the same transaction or occurrence.)

l Yes x No
> If yes, give the following information:
Court:
Case No:
Judge:

MIED (Rev. 07/06) Civil Cover Sheet for Prisoner Cases
